Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 1 of 34

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

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} Bankr. Case No. 06-10578
IN RE: )
) Chapter 11
WERNER HOLDING CO, (DE), INC., et al., )
)  Joinily Adminisiered
)
Debtors ) Doc. Ref. No. 18
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INTERIM ORDER (1) AUTHORIZING DEBTORS (A) TO OBTAIN POSTPETITION
FINANCING PURSUANT TO 1H U.S.C. §§105, 361, 362, 364(c)(1), 364(c)(2), 364(c)(3),
364(d)(1) AND 364(e), AND (B) TO UTILIZE CASH COLLATERAL PURSUANT TO 11
U.S.C, §363; (II) GRANTING LIENS, SECURITY INTERESTS AND SUPERPRIORITY
CLAIMS; (1H) GRANTING ADEQUATE PROTECTION TO PREPETITION SECURED
PARTIES PURSUANT TO 11 U.S.C. §§ 361, 362, 363 AND 364; AND (IV) SCHEDULING
A FINAL HEARING PURSUANT TO BANKRUPTCY RULES 2002, 4001 AND 9014

Upon the motion (the “Motion”) of Werner Holding Co. (DE), Inc. (the “Borrower”),
and its affiliated debtors, each as deblor and debtor-in-possession (collectively, the “Debtors”’),
in the above-captioned cases (the “Cases”) seeking, pursuant to sections 105, 361, 362,
363(c)(2), 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) and 364(e) of title 11 of the United States
Code, 11 U.S.C, §§101, et seg. (the “Bankruptey Code™), Rules 2002, 4001 and 9014 of the
Federal Rules of Bankruptcy Procedure (the “Bankruptey Rules”) and Rule 4001-2 of the Local
Rules for the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),
this Court’s authorization:

(a) for the Borrower to obtain postpetition financing pursuant to (i) a
$24,000,000 Superpriority First Lien DIP Revolving Credit Facility (the “Revolving DIP
Facility”) and (11) a $75,000,000 Superpriority First Licn DIP Tern Loan Facility (the “Term
Loan DIP Facility,” together with the Revolving DIP Facility, the “DIP Facility” substantially
in the form attached hereto as Exhibit 1 (excluding schedules and exhibits) and together with any
related documents or agreements, the “DIP Documents”), and for all of the other Debtors (the
“Guarantors”) to guaranty the Borrower’s obligations in connection with the DIP Facility up to
the aggregate principal amount of $99 million (the actual available principal amount at any time

being subject to the conditions set forth in the DIP Documents) from Black Diamond
Commercial Finance, L.L.C. (“BDCF”), acting as sole administrative agent, collateral agent,

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 2 of 34

bookrunner, lead arranger and documentation agent (collectively, in such capacitics, the “DIP
Agent”) and Morgan Stanley Senior Funding ("Morgan Stanley") as syndication agent and a
syndicate of financial institutions (logether with the DIP Agent and Morgan Stanley, the “DIP
Lenders”), with such DIP Facility:

 

(i) having priority, pursuant to section 364(c\(1) of the
Bankruptcy Code, over any and all administrative expenses of the kind specified in sections
503(b) and 507(b) of the Bankruptcy Code, subject only to the Carve-Out (defined below);

(i) being secured, pursuant to section 364(c)(2) of the
Bankruptey Code, by perfected first priority security interests in and liens upon all
unencumbered prepetition and postpetition property of the Debtors including, but not limited to,
Cash Collateral (defined below) (including cash contained in the Letter of Credit Account),
inventory, accounts receivable, other rights to payment whether arising before or after the
Petition Date, property, plants, equipment, general intangibles, instruments, interests in
leaseholds, real property, patents, copyrights, trademarks, trade names, other intellectual prperty
and the proceeds of all the foregoing, but excluding claims and causes of action under sections
502(d), 544, 545, 547, 548, 549, 550 or 551 of the Bankruptcy Code (collectively, the
“Avoidance Actions”),'

(iii) being secured, pursuant lo Section 364(d)(1} of the
Bankruptcy Code, by perfected first prionty senior priming liens on all property of the Debtors
that is subject to (x) existing liens that secure the obligations of any kind of the Debtors under
that certain Credit Agreement (the "Senior Prepetition Credit Facility") dated as of Junc 11,
2003, among the Borrower, the lenders party thereto (the "Senior Prepetition Lenders") and
JPMorgan Chase Bank, N.A., as administrative agent (the "Senior Prepetition Agent") and the
guarantees and other documents entered into by the Borrower and/or the other Debtors in
connection therewith, as any of such documents may have been amended, modificd,
supplemented or refinanced, (collectively, the "Senior Prepetition Credit Documents"), (y)
existing liens that secure the obligations of the Debtors under that certain Credit Agreement (the
"Junior Prepetition Credit Facility") dated as of May 10, 2005, among the Borrower, the
lenders party thereto (the "Junior Prepetition Lenders," together with the Senior Prepetition
Lenders, the "Prepetition Secured Lenders") and Credit Suisse First Boston, as administrative
agent (the "Junior Prepetition Agent" and together with the Senior Prepetition Agent, the
"Prepetition Agents") and the guarantees and other documents entered into by the Borrower
and/or the other Debtors in connection therewith, as any of such documents may have been
amended, modified, supplemented or refinanced (collectively, the “Junior Prepetition Credit
Documents" and together with the Senior Prepetition Credit Documents, the "Prepetition
Credit Documents") and (z) any liens granted after the commencement of the Cases to provide
adequate protection in respect of the Prepetition Credit Facilities; and

(iv} being secured, pursuant to section 364(c)(3) of the
Bankruptcy Code, by perfected junior security interests in and liens upon prepetition and

 

Capitalized terms not defined herein shall have the meaning ascribed to such terms in the Motion.

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 3 of 34

poslpetition property of the Debtors that is subject to valid and perfected liens in existence a the
time of the commencement of the Cases (other than the liens granted pursuant to the Prepetition
Credit Documents) or to valid liens in existence at the time of such commencement as permitted
by Section 546(b) of the Bankruptcy Code.

(b) for the Debtors to use the Cash Collateral pursuant to sections 361,
362 and 363 of the Bankruptcy Code, and all! other “Collateral” (as defined in the Prepetition
Credit Documents) in which the Prepetition Secured Lenders have a licn or security interest
(together with the Cash Collateral, the “Prepetition Collateral”) and provide adequate
protection with respect to any diminution in the value of the Prepetition Secured Lenders’
interests in the Prepetition Collateral resulting from the implementation of the DIP Facility and
the priming of ihe Prepetition Agents’ liens on the Prepetition Collateral to secure the DIP
Facility set forth herein, the use of the Cash Collateral and the use, sale or lease by the Debtors
(or other decline in value) of the Prepetition Collateral and the imposition of the automatic stay
pursuant to section 362 of the Bankruptcy Code:

(c) to schedule, pursuant to Bankruptey Rule 4001, an interim hearing
(the “Interim Hearing”) on this Motion for this Court to consider entry of an interim order
annexed to the Motion (the “Interim Order’) (i) authorizing the Borrower, on an interim basis,
to forthwith borrow from the DIP lacility up to the aggregate ammount of $75 million from the
DIP Lenders under the DIP Facilities, (11) authorizing the use by the Debtors of Cash Collateral,
and (ili) granting the adequate protection hereinafter described, and

(d) to schedule, pursuant to Bankruptcy Rule 4001, a final hearing (the
“Final Hearing”) for this Court to consider entry ofa final order authorizing the balance of the
DIP Facility on a final basis, as set forth in this Motion and the DIP Facility; and

(e) the granting of certain related relief.

The Interim Hearing having been held by this Court on June _, 2006 and upon the

record made by the Debtors at the Interim Hearing and after due deliberation and consideration
and sufficient causc appearing therelor;

IT IS FOUND, DETERMINED, ORDERED AND ADJUDGEN, that;

1. Jurisdiction. Vhis Court has core jurisdiction over the Case, this Motion, and the
parties and property affected hereby pursuant to 28 U.S.C. §§157(b) and 1334. Venue is proper
before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

2. Notice. Notice of the Motion, the relief requested therein and the Interim

Hearing was served by the Debtors on their thirty largest unsceured creditors, the Prepetition

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 4 of 34

Agenis, the United States Trustee for the District of Delaware and certain other parties. Under
the circumstances, such notice constitutes due and sufficient notice thereof and complies with
Bankruptcy Rulcs 4001(b) and (c) and Local Rule 4001-2,

3. Objections, All objections to the entry of this Order, if any, are resolved hereby
or, to the extent not resolved, are overruled.

4, Debtor's Stipulations. Without prejudice to the rights of any other party (but
subject to the limitations thercon contained in paragraph 19 below), the Debtors admit, stipulate
and agree that:

(a) as of the Petition Date, (1) the Debtors were truly and justly indebted and
liable to (i) the Senior Prepetition Lenders, without defensc, counterclaim or offset of any kind,
in the aggregate principal amount of approximately $100,000,000 in respect of loans made by the
Senior Prepetiion Lenders pursuant to, and in accordance with the terms of, the Senior
Prepetition Credit Documents, plus, accrucd and unpaid interest thereon and fees, expenses and
other obligations incurred in connection therewith as provided in the Senior Prepetition Credit
Documents and (11) the Debtors were contingently liable to the Senior Prepetition Lenders ,
without defensc, counterclaim or offset of any kind, in the agercgate face amount of
approximately $28,000,000 on account of letters of credit issucd pursuant to the Senior
Prepetition Credit Documents, in each case as provided in the Senior Prepetition Credit Facility,
(collectively, the “Senior Prepetition Secured Obligations”), and

(b) as of the Petition Date, the Debtors were indebted and liable to the Junior
Prepetition Lenders, without defense, counterclaim or offset of any kind, in the aggregate
principal amount of approximately $101,400,000 in respect of loans made by the Junior

Prepetition Lenders pursuant to, and in accordance with the terms of, the Junior Prepetition

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 5 of 34

Credit Documents, plus, accrucd and unpaid interest thereon and other obligations incurred in
connection therewith as provided in the Junior Prepetition Credit Facility, (the "Junior
Prepetition Secured Obligations,” and collectively with the Senior Prepetition Secured
Obligations, the "Prepetition Secured Obligations");

(c) the Prepetition Secured Obligations constitute the legal, valid and binding
obligations of the Debtors, enforceable in accordance with their terms (other than in respect of
the stay of enforcement arising from section 362 of the Bankruptcy Code);

(d) = no portion of the Prepetition Secured Obligations are subject to avoidance,
recharactcrization, recovery or subordination pursuant to the Bankruptcy Code or applicable
nonbankruptcy law;

(e) the Debtors do not have, and hereby forever release, any claims,
counterclaims, causes of action, defenses or setoff nghts, whether arising under the Bankrupicy
Code or otherwise, against the Prepetition Agents, the Prepetition Secured Lenders and their
affiliates, agents, officers, directors, employees, attorneys and advisors with respect to the
Prepetition Sccured Obligations: and

(f) the liens and security interests granted to the Prepetition Agents and the
Prepetition Secured Lenders pursuant to and in connection with the Prepetition Secured Credit
Documents (including, without limitation, all security agreements, pledge agreements,
morigages, leasehold mortgages, deeds of trust and other security documents exceuted by any of
the Debtors in favor of the Prepetition Secured Lenders) are (i) (x) in the case of the Senior
Prepetition Agent, valid, binding, perfected, enforceable first priority liens on and security
interests in the Prepetition Collateral and (y) in the case of the Junior Prepetition Agent, valid,

binding, perfected, enforceable second priority liens on and security interests in the Prepetition

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 6 of 34

Collateral (collectively, the “Prepetition Liens”), (11) not subject to avoidance,
recharacterization or subordination pursuant to the Bankruptcy Code or applicable
nonbankrupicy law and (iii) subject and subordinate only to (x) after giving effect to this Order,
the DIP Liens (as defined below), (y) after giving effect to this Order, the Carve Out (as defined
below) and (z) valid, perfected and unavoidable liens permitted under the Prepetition Secured
Credit Documents to the extent such permitted licns are senior to or pari passu with the licns of
the Prepetition Agents and the Prepetition Secured Lenders on the Prepetition Collateral (ihe
"Permitted Prepetition Liens").

5. Findines Revardine the DIP lacility.

(a) Good cause has been shown for the entry of this Order.

(b) The Debtors have an immediate need to obtain the DIP Facility and use
the Prepetition Collateral, including the Cash Collateral, in order to permit, among other things,
the orderly continuation of the operation of their businesses, to maintain business relationships
with vendors, suppliers and customers, to make payroll, to make capital expenditures, to
repurchase from Werner Funding the receivables that were previously sold io Wemer Funding
and 10 satisfy other working capital and operational needs. As a condition to any postpetition
lending, the DIP Lenders require the Debtors to repurchase the receivables previously sold to
Wemer Funding. A loan facility in the amount provided by the DIP Facility that does not require
a repurchase of the receivables previously sold to Wemer Funding is not available to the
Debtors. The Debtors’ use of the Prepetition Collateral in general and access to the Cash
Collateral specifically is necessary in order to ensure that the Debtors have sufficient working
capital and liquidity and can preserve and maintain the going concern value of the Debtors’

estates.

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 7 of 34

(c) The Debtors are unable to obtain financing on more favorable terms from
sources other than the DIP lenders under the DIP Documents and are unable to obtain adequate
unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code as an administrative
expense or unsecured credit with the enhanced priority afforded by section 364(c}(1) of the
Bankruptcy Code. The Debtors are also unable to obtain secured credit allowable under sections
364(c)(1), 364(c)(2) and 364(c)(3) of the Bankruptcy Code without the Debtors granting to the
DIP Lenders, subject to the Carve Out as provided for herein, the DIP Licns and the
Superpriority Claims (defined below) under the terms and conditions set forth in this Order and
in the DIP Documents.

(d) The terms of the DIP Documents and the use of Cash Collateral are fair
and reasonable, reflect the Debtors’ exercise of prudent busincss judgment consistent with their
fiduciary duties and constitute reasonably equivalent value and fair consideration.

(c) The DIP Documents and the use of Cash Collateral have been negotiated
in good faith between the Debtors, the DIP Agent, the DIP Lenders and the Senior Prepetition
Agent, and all of the Debtors’ obligations and indebtedness arising under, in respect of or in
connection with the DIP Facility, including without limitation, all loans made to the Debtors
pursuant to the DIP Facility (together with any other obligation arising under this Order or the
DIP Documents, collectively, the “DIP Obligations”), shall be deemed to have been extended
by the DIP Lenders in good faith as that term is used in section 364(e) of the Bankruptcy Code
and in express reliance upon the protections offered by section 364(e) of the Bankruptcy Code,
and shall be entitled to the full protection of section 364(e) of the Bankruptcy Code in the event

that this Order or any provision hereof is vacated, reversed or modified, on appeal or otherwise.

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 8 of 34

(f) The Debtors have requested entry of this Order pursuant to Bankruptcy
Rules 4001(b)(2) and 4001(c)(2). Absent granting the relief sought by this Order, the Debtors’
estates will be immediately and itreparably harmed. Consummation of the DIP I'acility and the
use of Cash Collateral in accordance with this Order and the DIP Facility is therelore in the best
interest of the Debtors’ estates.

6. Authorization of the DIP Documents.

(a) The DIP Documents are hereby approved as set forth in this Order and the
Debtors are hereby authorized lo borrow money pursuant to the DIP Documents and this Order,
up to an aggregate principal or face amount of $75 million, which shall be used for all] purposes
permitted under the DIP Documents, including, without limitation, to pay interest, fees and
expenses in accordance with this Order, to pay amounts approved by other Orders of this Court
and to provide working capital for the Debtors; provided, however, pursuant to this Interim
Order, the Debtors shall only pay $1,125,000 of the remaining Arrangement Fee, the balance of
which shall be paid upon entry of the Final Order.

(b) = The Debtors are also hereby authorized and directed to repurchase from
Werner Funding the receivables that were previously sold to Werner Funding and the DIP Agent
and the DIP Lenders are hereby deemed to have consented to such repurchase.

(c} In furtherance of the foregoing and without further approval of this Court,
the Debtors are authorized and directed to perform all acts, to make, execute and deliver all
instruments and documents (including, without limitation, the execution or recordation of
security agreements, mortgages and financing statements), and to pay all fees, that may be
reasonably required or necessary for the Debtors’ performance of their obligations under the DIP

Documents, including, without limitation:

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 9 of 34

(i) the exccution, delivery and performance of the DIP Documents
and any exhibits attached thereto, including, without limitation, the DIP Facility,

(ii) the execution, delivery and performance of one or more
amendments to the DIP Documents, in cach case in such form as the Debtors, the
DIP Agent and the DIP Lenders may agree (it bemg understood that no further
approval of the Court shall be required for amendments to the DIP Documents
that do not (1) shorten the maturity of the extensions of credit thereunder, (11)
increase the commitments, the rate of interest or the letter of credit fees payable
thereunder, (iii) change any default or event of default, or add any covenants or
amend the covenants therein to be more restrictive on the Debtors, (iv) amend any
other term or condition if such amendment would confer additional rights on the
DIP Agent or the DIP Lenders in a manner adverse in any material respect to the
Prepetition Agents or the Prepctition Secured Lenders or (v) amend the notice
provisions in Section 10.1 therein),

(ii) the non-refundable payment to the DIP Agent or the DIP Lenders,
as the case may be, of the fees referred to mm the DIP Documents and reasonable
costs and expenses as may be due from time to time, including, without limitation,
fees and expenses of the professionals retained as provided for in the DIP
Documents, and

(iv) the performance of all other acts required under or in connection
with the DIP Documents.

(d) Upon execution and delivery of the DIP Documents, the DIP Documents

shall constitute the valid and binding obligation of the Debtors, enforceable against the Debtors

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 10 of 34

in accordance with its terms, including, without limitation, the Prepayment Premium as set forth
therein, No obligation, payment, transfer or grant of security under the DIP Documents or this
Order shall be stayed, restrained, voidable, avoidable, or recoverable under the Bankruptcy Code
or under any applicable law (including without limitation, under section 502(d) of the
Bankruptcy Code, under section 548 of the Bankruptcy Code or under any applicable State
Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act or similar statute or
common law), or subject to any defense, reduction, setoff, recoupment or counterclaim.
7. Superpriority Claims.

(a) Pursuant to section 364(c)(1) of the Bankruptcy Code, all of the DIP
Obligations shall constitute allowed claims against the Debtors with priority over any and all
administrative expenses, diminution claims (including all Adequate Protection Obligations
(defined below)) and all other claims against the Debtors, now existing or herealler arising, of
any kind whatsoever, including, without limitation, all administrative expenses of the kind
specified in sections 503(b) and 507(b) of the Bankruptcy Code, and over any and all
administrative expenses or other claims arising under sections 105, 326, 328, 330, 331, 503(b),
506(c), 507(a), 507(b), 726, 1113 or 1114 of the Bankruptcy Code (the ‘“Superpriority
Claims”), whether or not such expenses or claims may become secured by a judgment lien or
other non-consensual lien, levy or attachment, which allowed claims shall be payable from and
have recourse to all pre and post-petition property of the Debtors and all proceeds thereot,
subject only to the payment of the Carve Out to the extent specifically provided for herein.

(b) For purposes hereof, the “Carve Out” means (i) all fees required to be
paid to the Clerk of the Bankruptey Court and io the Office of the United States Trustee under

section 1930(a) of title 28 of the United States Code and (ii) after the occurrence and during the

10

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 11 of 34

continuance of an Event of Default (as defined in the DIP Facility) an amount not exceeding
$2,000,000 in the aggregate, which amount may be used subject to the terms of this Order,
including, without limitation, paragraph 21 hereof, to pay any fees or expenses incurred by the
Debtors and any statutory committces appointed in the Cases (each, a “Committee”), in respect
of (A) the allowance of compensation for services rendered or reimbursement of expenses
awarded by the Bankruptcy Court to the Debtors’ or ary Committce’s professionals and (B) the
reimbursement of expenses allowed by the Bankruptcy Court incurred by Committce members in
the performance of their duties (but excluding fees and expenses of third party professionals
employed by such members); provided, however, (x) that the dollar limitation in this clause 7(ii)
on fees and disbursements shall neither be reduced nor increased by the amount of any
compensation or reimbursement of expenses incurred, awarded or paid prior to the occurrence of
an Event of Default in respect of which the Carve Out is invoked or by any fees, expenses,
indemnities or other amounts paid to the DIP Agent, DIP Lenders, the Prepetition Agents, the
Prepetition Secured Lenders or their respective attorneys and agents under the DIP Documents,
this Order or otherwise, (y) thai nothing herein shall be construed to impair the ability of any
party to object to any of the fees, expenses, reimbursement or compensation described in clauses
(A) and (B) above, and (7) that cash or other amounts on deposit in the Letter of Credit Account
(as defined in the DIP Credit Agreement), shall not be subject to the Carve Out.

8. DIP Liens.

As security for the DIP Obligations, effective and perfected upon the date of this Order
and without the necessity of the execution and recordation of filings by the Debtors of security
agreements, contro! agreements, piedgc agrecments, financing statements or other similar

documents, the following security interests and liens are hereby granted to the DIP Lenders (all

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 12 of 34

property identified in clauses (a), (b) and (c) below being collectively referred to as the
“Collateral’), subject, only in the event of the occurrence and during the continuance of an
Event of Default, to the payment of the Carve Out (all such liens and security interes{s granted to
the DIP Lenders, pursuant to this Order and the DIP Facility, the “DIP Liens”):

(a) First Licn on Uncncumbered Property. Pursuant to section 364(c)(2) of
the Bankruptcy Code, a valid, binding, continuing, enforceable, fully-perfected first priority
scnior sccurity interest in and hen upon all pre- and posipetition property of the Debtors, whether
existing on the Petition Date or thereafter acquired, that, on or as of the Petition Date 1s not
subject to valid, perfected and non-avoidable liens (collectively, “Unencumbered Property”),
including, without limitation, any unencumbered cash, inventory, accounts receivable, other
rights to payment whether arising before or after the Petition Date, contracts, propertics, plants,
cquipment, general intangibles, documenis, imstruments, interests in leaseholds, real properties,
patents, copyrights, trademarks, trade names, other intellectual property, capital stock of
subsidiaries, and the proceeds of all the foregoing. Unencumbered Property shall exclude the
Avoidance Actions, but shall, subject to the entry of the Final Order, include any proceeds or
property recovered, unencumbered or otherwise the subject of successful Avoidance Actions.

(b) Liens Priming Prepetition Secured Parties’ Liens. Pursuant lo section

 

364(d)(1) of the Bankruptcy Code, a valid, binding, continuing, enforceable, fully-perfected first
priority senior priming sccurity interest in and lien upon all pre- and post-petition property of the
Debtors (including, without limitation, cash collateral, inventory, accounts receivable, other
righis to payment whether arising before or after the Petition Date, contracts, properties, plants,
equipment, gencral intangibles, documents, insiruments, interests in leaseholds, real properties,

palents, copyrights, trademarks, trade names, other intellectual property, capital stock of

12
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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 13 of 34

subsidiaries, and the proceeds of all the forcgoing), whether now existing or hereafter acquired,
that is subject to the existing liens presently securing the Prepctition Secured Obligations. Such
security interests and liens shall be sentor in all respects to the interests in such property of the
Prepetition Agents and the Prepetition Secured Lenders arising from current and future liens of
the Prepetition Agents and the Prepetition Secured Lenders (including, without limitation, the
Adequate Protection Liens (defined below)), but shall not be senior to any valid, perfected and
unavoidable interests of other partics arising out of liens, if any, on such property existing
immediately prior to the Petition Date, or to any valid, perfected and unavoidable interests in
such property arising out of liens to which the liens of the Prepctition Agents and the Prepetition
Secured Lenders become or became subject subsequent to the Petition Date as permmtted by
section 546(b) of the Bankruptcy Cade.

(c) Liens Junior to Certain Other Liens, Pursuant to section 364(c)(3) of the

 

Bankruptcy Code, valid, binding, continuing, enforceable, fully-perfected security interests in
and liens upon all pre- and post-petition property of the Debtors (other than the property
described in clauses (a) or (b) of this paragraph 8, as to which the licns and security interests in
favor of the DIP Lenders will be as described in such clauses), whether now existing or hereafter
acquired, that is subject to valid, perfected and unavoidable Jiens (other than the liens granted on
account of the Prepetition Secured Obligations, which shall be governed by paragraph 8(b)
above) in existence immediately prior to the Petition Date or to valid and unavoidable liens in
existence immediately prior to the Petition Date that are perfected subsequent to the Petition
Date as permitted by section 546(b) of the Bankruptcy Code, which security interests and licns in

favor of the DIP Lenders are junior to such valid, perfected and unavoidable liens.

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 14 of 34

(d) Liens Senior to Certain Other Liens. The DIP Liens and the Adequate
Protection Liens (defined below) shall not be (i) subject or subordinate to (A) any lien or security
interest that is avoided and preserved for the benefit of the Debtors and their estates under
section 551 of the Bankruptcy Code or (B) any liens arising after the Petition Date including,
without limitation, any liens or security interests pranted in favor of any federal, state, municipal
or other governmental unit, commission, board or court for any liability of the Debtors, or (ii)
subordinated to or made pari passu with any other licn or security interest under sections 363 or
364 of the Bankruptcy Code or otherwise.

9, Protection of DIP Lenders’ Rights.

(a) So long as there are any borrowings or letters of credit or other amounts
outstanding (other than contingent indemmity obligations as to which no claim has been asserted
when all other amounts have been paid and no Ictters of credit are outstanding), or the DIP
Lenders have any Commitment (as defined in the DIP Facility) under the DIP Documents, the
Prepetition Agents and Prepetition Secured lenders shall (i) take no action to foreclose upon or
recover in connection with the licens granted pursuant to Prepetition Credit Facilities or this
Order, or otherwise excrcise remedies against any Collateral, exccpt to the extent authorized by
an order of this Court and the Prepetition Agents hereby reserve the right to seek such relief, (ii)
be deemed to have consented to any release of ColJateral authorized under the DIP Documents;
provided that the Prepctition Agents and any Prepetition Sccured Lender may appear and be
heard as a party in interest in connection with any proceeding relating to the sale, transfer or
other disposition of any Collateral and (iii) not file any further financing statements, trademark
filings, copyright filings, mortgages, notices of licn or similar instruments, or otherwise take any

action to perfect their security interests in the Collateral unless, solely as to this clause (iii), the

14

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 15 of 34

DIP Agent files financing statements or other documents to perfect the licns granted pursuant to
this Order, or as may be required by applicable state law to continue the perfection of valid and
unavoidable licns or security interests as of the Petition Date.

(b) The automatic stay provisions of section 362 of the Bankruptey Code arc
vacated and modified lo the extent necessary to permit the DIP Agent and the DIP Lenders to
exercise, upon the occurrence of an Event of Default and the giving of five (5) business days’
written notice to the Debtors, the Prepetition Agents and the Committce as provided for in the
DIP Facility, all rights and remedies against the Collateral provided for in the DIP Documents
(including, without limitation, the right to setoff monies of the Deblors in accounts maintamed
with the DIP Agent or any DIP Lender). I any hearing regarding any exercise of rights or
remedies, the only issue that may be raised by any party in opposition thereto shall be whether,
in fact, an Event of Default has occurred and is continuing, and each of the Debtors hereby
waives its right to seek relict, including, without limitation, under section 105 of the Bankruptcy
Code, to the extent such relief would in any way impair or restrict the rights and remedies of the
DIP Agent and the DIP Lenders set forth in this Order or the DIP Documents. In no event shall
the DIP Agent or the DIP Lenders be subject to the cquitable doctrine of “marshaling” or any
similar doctrine with respect to the Collateral. The DIP Agent's or the DIP Lenders’ failure to
seek relief or otherwise exercise its rights and remedics under the DIP Facility or this Order shall
not constitule a waiver of the DIP Agent's or the DIP Lenders’ rights hereunder, thercunder or
otherwise.

(c) Entry of this Order shall be without prejudice to the right of the
Prepetition Agents and the Prepetition Secured T.enders to seek relief in the Cases and to appear

and be heard on matters before the Court,

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 16 of 34

10. Limitation on Charging Expenses Against Collateral.

Subject to the entry of the Final Order, except to the extent of the Carve Out, no
expenses of administration of any of the Cases or any future proceeding that may result
therefrom, including liquidation in bankruptcy or other proceedings under the Bankruptcy Code,
shall be charged against or recovered from the Collateral or the Prepetition Collateral pursuant to
section 506(c) of the Bankruptcy Code or any similar principle of law, without the prior written
consent of the DIP Agent, the DIP Lenders, the Prepetition Agents or the Prepetition Secured
Lenders, as the casc may be, and no such consent shall be implied from any other action,
inaction, or acquiescence by the DIP Agent, the DIP Lenders, the Prepetition Agents or the
Prepetition Secured Lender.

li. Payments Free and Clear. Any and all payments or proceeds remitted to the DIP
Agent on behalf of the DIP Lenders or Prepetition Agents on behalf of the Prepetition Secured
Lenders pursuant to the provisions of this Order or any subsequent order of the Court shall be
received free and clear of any claim, charge, assessment or other liability including, without
limitation, any such claim or charge arising out of or based on, directly or indirectly, sections
506(c) (whether asserted or assessed by, through or on behalf of the Debtor} or 552(b) of the
Bankruptcy Code.

12. Interest on DIP Obligations, Interest on the DIP Obligations shall accrue at the
rates and shall be paid at the times as provided in the DIP Documents.

13. Use of Cash Collateral. The Debtors’ cash, including without limitation, all cash
and other amounts on deposit or maintained in any account or accounts by the Debtors, and any
amounts generated by the collection of accounts reccivable, sale of inventory or other disposition

of the Prepetition Collateral, constitute proceeds of the Prepetition Collateral and, therefore, are

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 17 of 34

cash collateral of the Prepctition Sccured Lenders within the meaning of Section 363(a) of the
Bankrupicy Code (the “Cash Collateral’). The Debtors are hereby authorized to use the Cash
Collateral of (2) the Senior Prepetition Agent and the Senior Prepetition Lenders and (ii) to the
extent that the value of the Prepetition Collateral exceeds the value of the Senior Prepetition
Secured Obligations, the Junior Prepetition Agent and the Junior Prepetition Lenders, and the
Prepetition Secured Lenders are directed promptly to turn over to the Debiors all Cash Collateral
received or held by them, provided that the Prepetition Secured Lenders are granted adequate
protection as hereinafter set forth. The Debtors’ right to use Cash Collateral under this Order
shall tenninate automatically on the Termination Date (as defined in the DIP Facility), The
Prepetition Secured Lenders have objected to the use by the Debtors of the Cash Collateral,
except on the terms of this Order.

14. Adequate Protection. The Prepetition Secured Lenders are entitled, pursuant to
sections 361, 363(c}(2), 363{e) and 364(d)(1) of the Bankruptcy Code, to adequate protection of
their interest in the Prepetition Collateral, in an amount equal to the aggregate diminution in
value of the Prepetition Secured Lenders’ respective Prepetition Collateral, including, without
limitation, any such dimmution resulting [rom the implementation of the DIP Facility and the
priming of the Prepetition Agents’ liens on the Prepctition Collateral, the sale, lease or use by the
Debtors (or other decline m value) of the Prepetition Collateral, and the imposition of the
automatic stay pursuant to section 362 of the Bankruptcy Code (collectively, the "Adequate
Protection Obligations"). As adequate protection, the Prepetition Agents and the Prepetition
Secured Lenders arc hereby granted the following:

(a) Adequate Protection Liens. To secure the Adequate Protection

Obligations, the Prepetition Agents (for themselves and for the benefit of the respective

17

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 18 of 34

Prepetition Secured Lenders) are hereby granted (effective and perfected upon the date of tls
Order and without the necessity of the execution by the Debtors of security agreements, pledge
agreements, financing siatements or other agreements) a valid, perfected replacement security
interest in and lien upon al! the Collateral (the “Adequate Protection Liens”), subject and
subordinate only to (1) the Permitted Prepetition Liens, (ii) the security interests and liens granted
to the DIP Agent for the benefit of the DIP Lenders in this Order and pursuant to the DIP
Decuments and any licns on the Collateral to which such liens so granted to the DIP Agent are
jurdor and (iti) the Carve Out. The Adequate Protection Liens granted hereunder to the Junior
Prepetition Agent [or the ratable benefit of the Junior Prepetition Lenders shall be subject and
subordinate to the Adequate Protection Liens granted hereunder to the Senior Prepetition Agent
for the ratable benefit of the Senior Prepetition Lenders.

(b) Section 507(b) Claim. The Adequate Protection Obligations shall
constitute Superpriority Claims, subject and subordinate only to the payment of the Carve Out
and the Superpriority Claims granted with respect to the DIP Obligations. Notwithstanding the
foregoing, the Prepetition Agents and the Prepetition Secured Lenders shall not receive or retain
any payments, property or other amounts im respect of the Superpriority Claims under section
$07(b) of the Bankruptcy Code granted hercunder or under the Prepetition Secured Credit
Documents, but excluding any amounts payable or paid pursuant to this Order, unless and until
the DIP Obligations have indefeagibly been paid in cash, in full. The Superpriority Claims
granted hereunder to the Junior Prepetition Agent and the Junior Prepetition Lenders shall be
subject and subordinate to the Superpriority Claims granted hereunder to the Senior Prepctition

Agent and the Senior Prepetition Lenders.

18
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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 19 of 34

(c) Interest. Consistent with the rights of holders of Prepetition Secured
Obligations under section 506(b) of the Bankruptcy Code and in consideration of the entry of
this Order notwithstanding the lack of adequate protection in the form of current cash payments
to the holders of the Prepetition Secured Obligations, the claims of holders of Prepetition
Secured Obligations for postpetition interest on the Prepetition Secured Obligations shall accrue
and be allowed at the respective contractual rates (including the additional contractual default
rates) set forth in each of the Prepetition Secured Credit Documents as applicable after an
acceleration of the Prepetition Sccured Obligations; provided that the rights of all parties to
contest whether the value of the Prepetition Collateral exceeds the Prepetition Secured
Obligations (but not the rates) are hercby fully preserved.

(d)} Fees and Expenses. The Debtors are hereby authorized and directed to
pay:

(i) to the Senior Prepetition Agent, im cash, all agent and letter of
credit fees, In each case as and when due and payable pursuant to the terms of the Senior
Prepetition Credit Documents; and

qi) —s to each of the Prepetition Agents current cash payments of all
reasonable fees and expenses (including the reasonable fees and disbursements of one lead and
one local counsel and one financial advisor for each of the respective Prepetition Agents, which
in the case of the Junior Prepetition Agent may include services provided by two counsels and
one financial advisor to the ad hoc committee of Junior Prepetition Lenders) incurred in
connection with the monitoring of the Cases or the enforcement and protection of the rights and
interests of the Prepetition Agents and the Prepetition Secured Lenders in respect of the

Adequate Protection Obligations and the Prepetition Secured Obligations, provided that the

19
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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 20 of 34

rights of any party to assert that any such amounts paid pursuant to this clause (ii) should be
applied to the reduction of principal under section 506(b) of the Bankruptcy Code are hereby
fully preserved. None of the fecs and expenses payable pursuant to this subparagraph (d) shall
be subject to separate approval by this Court (but this Court shall resolve any dispute as to the
reasonableness of any such fees and expenses), and no recipient of any such payment shall be
required to file any interim or final fcc application with respect thercto.

(e) Reporting and Right to Access. ‘The Debtors shall provide the Prepetition
Agents and the Prepetition Secured Lenders with copies of all reports, information and other
materials delivered to the DIP Agent and the DIP J-enders and such other reports, information
and materials as reasonably requested by the Prepetition Agents. In addition, the Debtors shall
cooperate with and permit representatives of the Prepetition Agents to have reasonable access to
their premises and non-privileged records during normal business hours (without unreasonable
interference with the proper operation of the Debtors’ businesses).

15. Priarities Among Prepetition Secured Lenders. Notwithstanding anything to the
contrary herein or in any other order of (his Court, in determining the relative prionties and
Tights of the Prepetition Secured Lenders (including, without limitation, the relative priorities and
rights of the Prepetition Sccurcd Lenders with respect to the Adequate Protection Liens and
superpriority claims eranted hereunder), such priorities and nghis shall be governed by the
Prepetition Secured Credit Documents, including the Interereditor Agreement dated as of May
10, 2005 (as amended, supplemented or otherwise modified, the "Prepetition Intercreditor
Agreement") among the Senior Prepetition Agent, the Junior Prepetition Agent and the Debtors.
Pursuant to the Prepetilion Intercreditor Agreement, Junior Prepetition Agent, for itself and on

behalf of the Junior Prepetition Lenders, agreed that (1) any replacement liens granted to the

20
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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 21 of 34

Junior Prepetition Agent as adequate protection would be subordinated to the DIP Liens and the
replacement liens granted to the Senior Prepetition Agent as adequate protection, (11) any
administrative expense claim granted to the Junior Prepetition Agent as adequate protection
would be subordinated to the administrative expense claims granted to the DIP Lenders and the
administrative expense claim granted to the Senior Prepetition Agent, (111) it would not object to
the Debtors’ use of Cash Collateral or to post-petition financing having terms and conditions as
contemplated by this Order and the DIP Credit Documents and (iv) it would not request adequate
protection or any other telief in connection with the Debiors’ entry into the DIP Facility or the
use of the Cash Collateral, except as expressly agreed by the Senior Prepetition Agent or to the
extent otherwise permitted under the Prepetition Intercreditor Agreement.

16. Sufficiency of Adequate Protection.

The Court finds that the adequate protection provided herein is reasonable and
sufficient to protect the interests of the Prepetition Agents and the Prepetition Secured Lenders
and is consistent with the provisions of the Prepetition Intercreditor Agreement.
Notwithstanding any other provision hereof, the grant of adequate protection to the Senior
Prepetition Agent and the Senior Prepetition Lenders pursuant hereto is without prejudice to the
right of the Senior Prepetition Agent to seek modification of the grant of adequate protection
provided hereby so as to provide differcnt or additional adequate protection (but excluding the
current cash payment of interest), and without prejudice to the right of the Debtors or any other
party in interest to contest any such modification. The consent of the Senior Prepetition Agent
and the Senior Prepetition Lenders to the priming of the Senior Prepetition Agent’s liens on the
Prepetition Collateral by the DIP Liens (a) 1s limited to the DIP Facility authorized pursuant to

this Order, and shall not extend to any other post-petition financing or to any modified version or

21
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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 22 of 34

replacement of the DIP Facility and (b) does not constitute, and shall not be construed as
constituting, an acknowledgement or stipulation by the Senior Prepetition Agent or the Senior
Prepetition Lenders that, absent such consent, their interests in the Prepctition Collateral would
be adequately protected pursuant to this Order.

17. Perfection of DIP Liens and Adequate Protection Liens.

(a) Subject to the provisions of paragraph 9(a) above, the DIP Agent, the DIT’
Lenders, the Prepetition Agents and the Prepetition Secured Lenders are hereby authorized, but
not required, to file or record financing statements, trademark filings, copyright filings,
mortgages, notices of lien or similar instruments in any jurisdiction or take any other action in
order to validate and perfect the liens and security interests granted to hem hereunder. Whether
or not the DIP Agent on behalf of the DIP Lenders or Prepetition Agents on behalf of the
Prepetition Secured Lenders shall, in their sole discretion, choose to file such financing
statements, trademark filings, copyright filings, mortgages, notices of lien or similar instruments
or otherwise confirm perfection of the liens and security interests granted to them hereunder,
such liens and security interests shall be deemed valid, perfected, allowed, enforceable, non-
avoidable and not subject to challenge, dispute or subordination, at the time and on the date of
entry of this Order.

(b) A certified copy of this Order may, in the discretion of the DIP Agent or
the Prepetition Agents, be filed with or recorded im filing or recording offices in addition to or in
lieu of such financing statements, morigages, notices of lien or similar instruments, and all filing
offices are hereby authorized to accept such certified copy of this Order for filing and recording
without the imposition of any stamp, miangibles recording or similar tax in accordance with the

provisions of section 1146 of the Bankruptcy Code.

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 23 of 34

(c) The Debtors shall execute and deliver to the DIP Agent and the Prepetition
Agents all such agreements, financing statements, mstruments and other documents as the DIP
Agent and the Prepetition Agents may reasonably request to evidence, confirm, validate or
perfect the DIP Liens and Adequate Protection Liens granted pursuant hereto.

(d) Any provision of any lease or other license, contract or other agreement
that requires (1) the consent or approval of one or more landlords or other partics or (11) the
payment of any fees or obligations to any governmental entity, in order for any Debtor to pledge,
grant, sell, assign, or otherwise transfer any such leasehold interest, or the proceeds thereof, or
other post-petition collateral related thereto, is hereby deemed to be inconsistent with the
applicable provistons of the Bankruptcy Code. Any such provision shall have no force and effect
with respect to the transactions granling post-petilion liens, in such leasehold interest or the
proceeds of any assignment and/or sale thereof by any Debtor, in favor of the DIP Lenders or the
Prepetition Secured Lenders in accordance with the terms of the DIP Documents or this Order.

18. Preservation of Rights Granted Under the Order.

{a) Unless all DIP Obligations and Adequate Protection Obligations shall
have been paid in full, the Debtors shall not seek, and it shall constitute an Event of Default and
a termination of the right to use Cash Collateral if any of the Debtors seek, or if there is entered,
(i) any modifications or extensions of this Order without the prior written consent of the DIP
Agent and the Senior Prepetition Agent (and to the extent necessary under the Prepetition
Interereditor Agreement, the Junior Prepetition Agent), and no such consent shall be implied by
any other action, inaction or acquiescence by the DIP Agent or the Senior Prepetition Agent, or
(ii) an order dismissing any of the Cases. If an order dismissing any of the Cases under section

1112 of the Bankruptey Code or otherwisc is at any time entered, such order shall provide (in

23
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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 24 of 34

accordance with sections 105 and 349 of the Bankruptcy Codc) that (x) the Superpriority Claims,

priming liens, security interests and replacement security interests granted to the DIP Agent or

the DIP Lenders, and, as applicable, the Prepetition Agents or the Prepetition Secured Lenders

pursuant to this Order, shall continue in full force and effect and shall maintain their priorities as
provided in this Order until all DIP Obligations and Adequate Protection Obligations shall have
been paid and satisfied in full (and that such superprionty claims, priming liens and replacement
security interests, shall, notwithstanding such dismissal, remain binding on all parties in interest)
and (y) this Court shall retain jurisdiction, notwithstanding such dismissal, tor the purposes of
enforcing the claims, liens and securily interests referred to in clause (x) of this paragraph.

(b) If any or all of the provisions of this Order arc hereafter reversed,

modified, vacated or stayed, such reversal, modification, vacation or stay shall not affect (1) the

 

validity of any DIP Obligations or Adequate Protection Obligations incurred prior to the actual
receipt of written notice by the DIP Agent or the Prepetition Agents, as applicable, of the
effective date of such reversal, modification, vacation or stay or (ii) the validity or enforceability
of any licn or priority authorized or created hereby or pursuant to the DIP Documents with
respect to any DIP Obligations or this Order with respect to any Adequate Protection
Obligations. Notwithstanding any such reversal, modification, vacation or stay, any use of Cash
Collateral, or DIP Obligations or Adequate Protection Obligations incurred by the Debtors to the
DIP Agent, the DIP Lenders, the Prepetition Agents or the Prepetition Secured Lenders prior to
the actual receipt by the DIP Agent or the Prepctition Agents of written notice of such reversal,
modification, vacation or stay shall be governed im all respects by the original provisions of this
Order, and the DIP Agent, the DIP Lenders, the Prepctition Agents and the Prepetition Secured

Lenders shall be entitled to all the rights, remedies, privileges and benefits granted in section

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 25 of 34

364(e) of the Bankruptcy Code, this Order and pursuant to the DIP Facility with respect to all
uses of Cash Collateral, DIP Obligations and Adequate Protection Obligations.

(c) Except as expressly provided in this Order or in the DIP Documents, the
DIP Liens, the Superpriority Claims, the Adequate Protection Obligations and all other rights
and remedies of the DIP Agent, the DIP Lenders, the Prepetition Agents and the Prepetition
Sccured Lenders granted by the provisions of this Order and the DIP Documents shall survive,
and shall not be modified, impaired or discharged by (1) the entry of an order converiing any of
the Cases to a case under chapter 7, dismissing any of the Cases or by any other act or omission,
or (11) the entry of an order confirming a plan of reorganization in any of the Cases and, pursuant
to section 1141(d)(4) of the Bankruptcy Code, the Debtors have waived any discharge as 10 any
remaining DIP Obligations or Adequate Protection Obligations. The terms and provisions of this
Order and the DIP Documents shall continue in these Cases, in any successor cases if these
Cases cease to be jointly administered, or in any superceding chapter 7 cases under the
Bankruptcy Code, and the DIP Obligations, the Adequate Protection Obligations and all other
rights and remedies of the DIP Agent, the DIP Lenders, the Prepetition Agents and the
Prepetition Secured Lenders granted by the provisions of this Order and the DIP Documents
shall continue in full force and effect until the DIP Obligations and Adequate Protection
Obligations are indefcasibly paid in full,

19, Effect of Sipulations on Third Parties. The stipulations and admissions contaimed
in this Order, including, without limitation, in paragraph 4 of this Order, shall be binding upon
the Debtors in all circumstances. The stipulations and admissions contained in this Order,
including, without limitation, in paragraph 4 of this Order, shall be binding upon all other parties

in interest, including, without limitation, any Committee, unless (a) a party in interest (including

25
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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 26 of 34

a trustee) has timely filed an adversary proceeding or contested matter (subject to the limitations
contained hercin, including, infer alia, im paragraph 21) by no later than the date that is the later
of (i) 75 days after the entry of this Order, (ii) in the case of such an action being brought by a
Committee, 60 days after the appointment of the statutory committee of unsecured creditors
appointed in this Case, (ili) such later date as has been agreed Lo, in writing, by the (x) Senior
Prepetition Agent in respect of challenges that may be initiated against the Senior Prepctition
Agent or the Senior Prepetition Lenders or (y) the Junior Prepetition Agent in respect of
challenges thal may be initiated against the Junior Prepetition Agent or the Junior Prepetition
Lenders, in each case in the sole discretion of the Senior Prepctition Agent and the Junior
Prepetition Agent, as applicable, or (iv) as has been ordered by the Court (A) challenging the
validity, enforceability, priority or extent of the Prepetition Secured Obligations or the
Prepetition Liens on the Prepetition Collateral or (B) otherwise asserting or prosecuting any
Avoidance Actions or any other any claims, counterclaims or causes of action, objections,
contests or defenses (collectivcly, “Claims and Defenses’) against the Prepetition Agents or any
of the Prepetition Secured Lenders or their respective agents, affiliates, subsidiarics, dircctors,
officers, representatives, attorneys or advisors in connection with mailers related io the
Prepetition Secured Credit Documents, the Prepetition Secured Obligations, or the Prepetition
Collateral), and (b) there is a final order in favor of the plaintiff sustaining any such challenge or
claim in any such timely filed adversary proceeding of contested matter, provided that as to the
Debtors, all such Clatms and Delenses are hereby irrevocably waived and relinquished as of the
Petition Date. Ifno such adversary proceeding or contested matter is timely filed, (x) the
Prepetition Secured Obligations shall constitute allowed claims, not subject to counterclaim,

sctoff, subordination, recharacterization, defense or avoidance, for all purposes in the Cases and

26

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 27 of 34

any subsequent chapter 7 case, (y) the Prepeiition Liens on the Prepetition Collateral shall be
deemed to be Icgal, valid, binding, perfected and of the priority described in paragraph 4(f), not
subject to recharacterization, subordination, avoidance or reduction and (z) the Prepetition
Secured Obligations, the Prepetition Licns on the Prepetition Collateral and the Prepetition
Agents and the Prepetition Secured Lenders shall not be subject to any other or further challenge
by any party in interest, and any such party in interest shall be enjoined from, seeking to exercise
the rights of any of the Debtors’ estates, including, without limitation, any succcssor thereto
(including, without limitation, any estate representative or a chapter 7 or 11 trustee appointed or
elected for any of the Debtors). If any such adversary proceeding or contested matter is timely
filed, the stipulations and admissions contained in paragraph 4 of this Order shall nonetheless
remain binding and preclusive (as provided in the second sentence of this paragraph) on any
Committee and on any other person or entity, except to the extent that such findings and
admissions were expressly challenged in such adversary proceeding or contested matter.
Nothing in this Order vests or confers on any Person (as defined in the Bankruptey Code), other
than the statutory committee of unsecured creditors appointed in this Case standing or authority
io pursue any cause of action belonging to the Debtors or their estates, including, without
limitation, Claims and Defenses with respect to the Prepetition Liens or the Prepetition Secured
Obligations.

20, Waiver of Claims and Causes af Action Against the DIP Lenders. Without
prejudice to the rights of any other party, including any Committee (but subject to the limitations
thereon in paragraphs 19 and 21), the Debtors have waived any and all claims and causes of
action against the DIP Agent, the DIP Lenders, the Prepetition Agents, the Prepetition Secured

Lenders and their respective agents, affiliates, subsidiaries, directors, officers, representatives,

27

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 28 of 34

altomeys or advisors, directly related to the DIP Facility, this Order or the negotiation of the
terms thereof.

21. Limitation on Use of DIP Facility Proceeds and Collateral. The Debtors shall
use the procceds of the DIP Facility and the Cash Collateral solely as provided in this Order and
in the DIP Documenis, Notwithstanding anything herein or in any other order by this Court to
the contrary, no borrowings, letters of credit, Cash Collateral, Prepetition Collateral, Collateral or
the Carve Out may be used to (a) object, contest or raise any defense to, the validity, perfection,
priority, extent or enforceability of any amount due under this Order, the DIP Documents or the
Prepetition Sccured Credit Documents, or the liens or claims granted under this Order, the DIP
Documents or the Prepetition Sccured Credit Documents, (b) assert any Claims and Defenses or
causes of action against the DIP Agent, the DIP Lenders, the Prepetition Agents, the Prepeuition
Secured Lenders or their respective agents, affiliates, subsidiaries, directors, officers,
representatives, attorneys or advisors, (c) prevent, hinder or otherwise delay the DIP Agent’s or
the Prepetition Agents’ assertion, enforcement or rcalization on the Cash Collateral or the
Collateral in accordance with the DIP Facility, the Prepetition Secured Credit Documents or this
Order or (d) seek to modify any of the rights granted to the DIP Agent, the DIP Lenders, the
Prepetition Agents or the Prepetition Secured Lenders hereunder, under the DIP Facility or the
Prepetition Secured Credit Documents, in each foregoing case without such party’s prior written
consent; provided that noe more than an aggregate of $50,000 of the Cash Collateral, the DIP
Facility, the Prepetition Collateral, the Posipetition Collateral, or (he Carve Out, may be used by
any Commillee or Committees to investigate the validity, enforceability or priority of the

Prepetition Agents’ liens on the Prepetition Collatcrai, or otherwise asserting any claims or

28

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 29 of 34

causes of action against the Prepetition Agents or the Prepetition Secured Lenders on behalf of
the Debtors’ estates.

22.  Jasurance. Pursuant to this Order, (1} the DIP Agent and the DIP Lenders shall be
and shall be deemed to be, without any further action or notice, named as an additional insured
on each insurance policy maintained by any of the Debtors which in any way rclates to the
Collateral, and (ii) the Prepetition Agents and the Prepetition Secured J_enders, to the extent of
their Adequate Protection Liens, shall be and shall be deemed to be, without any further action or
notice, named as additional insureds on each insurance policy maintained by any of the Debtors
which in any way relates to the Collateral. The proceeds of any such insurance policy shall be

applied to repay, first, the obligations under the DIP Facility, second, the Adequate Protection

 

Obligations owed to the Senior Prepetition Agent and the Semior Prepetition Lenders and, third,
the Adequate Protection Obligations owed to the Junior Prepetition Agent and the Junior
Prepetition Lenders.
23. Proofs of Claim.

(a) In order to facilitate the processing of claims, to case the burden upon this
Court and to reduce any unnecessary expense to the Debtors’ estates, the Prepetition Agents are
authorized to file master proofs of claim on behalf of themselves and each of the Prepetition
Secured Lenders on account of their claims arising under the Prepetition Secured Credit
Documents and hereunder against the Debtors (the “Master Proofs of Claim”), and the
Prepetition Agents shall not be required to file verified statements pursuant to Rule 2019 of the
Federal Rules of Bankruptcy Procedure,

(b) Upon the filing of the Master Proofs of Claim against the Debtors, the

Prepetition Agents and cach Prepetition Secured Tender, and each of their respective successors

29
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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 30 of 34

and assigns, shall be deemed to have [iled a proof of claim in the amount set forth opposite its
name therein in respect of its claims against each of the Debtors arising under the Prepetition
Secured Credit Documents, and the claim of the Prepetition Agents and each Prepetition Secured
Lender (and cach of their respective successors and assigns), named in the Master Proofs of
Claim shall be allowed or disallowed as if such entity had filed a separate proof of claim in cach
applicable Case in the amount set forth opposite each name in the Master Proofs of Claim;
provided that the Prepetition Agents may, but shall not be required to, amend their respective
Master Proofs of Claim from time to time to, among other things, reflect a change in the holders
of claims sct forth therein or a reallocation among such holders of the claims asserted therein
resulting from any transfer of any such claims.

(c) The provisions set forth of this paragraph and the Master Proofs of Claim are
intended solely for the purpose of administrative convenience and, except to the extent set forth
herein or therein, neither the provisions of this paragraph nor the Master Proofs of Claim shall
affect ihe substantive rights of the Debtors, any Committce, the Prepetition Agents or the
Prepetition Secured Lenders or any other party in interest or their respective successors in
interest including, without limitation, the right of each Prepetition Secured Lender (or their
successors 11 interest) to vote separately on any plan of reorganization proposed in the Cases.

24. Order Governs. In the event of any inconsistency between the provisions of this
Order and the DIP Documents, the provisions of this Order shall govern.

25. = Binding Effect; Successors and Assigns. ‘The DIP Documents and the provisions
of this Order, including all findings herein, shall be binding upon all parties in interest in these
Cases, including, without limitation, the DIP Agent, the DIP Lenders, the Prepetition Agents, the

Prepetition Secured Lenders, any Committee, and any of the Debtors and their respective

30

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 31 of 34

successors and assigns (including any chapter 7 or chapter 11 trustee hereinafter appointed or
elected for the estate of any of the Debtors, an examiner appointed pursuant to section 1104 of
the Bankruptcy Code, or any other fiduciary hereafter appointed as a icgal representative of any
ofthe Debtors or with respect to the property of the estate of any of the Debtors) and shall inure
to the benefit of thc DIP Agent, DIP Lenders, ihe Prepetition Agents, the Prepetition Secured
Lenders and the Debtors and each of their respective successors and assigns; provided, however,
that the DIP Lenders shall have no obligation to extend any financing to any chapter 7 trustee or
similar responsible person appointed for the estate of any of the Debtors.

26. Limitation of Liability. In determining to make any loan under the DIP
Documents or jn exercising any rights or remedies as and when permitted pursuant to this Order
or the DIP Documents, the DIP Agent and the DIP Lenders shall not be deemed to be in control
of the operations of any of the Debtors or to be acting as a “responsible person” or “owner or
operator” with respect to the operation or management of any of the Debtors (as such terms, or
any similar terms, are used in the United States Comprehensive Environmental Response,
Compensation and Liability Act, 29 U.S.C. $8 9601 ef seg. as amended, or any similar federal or
state statute). l‘urthermore, nothing in this Order or in the DIP Documents related to this
transaction shall in any way be construed or interpreted to impose or allow the imposition upon
the DIP Agent or the DIP Lenders any liability for any claims arising from the pre-petition or
post-petition activities by any of the Debtors and their affiliates (as defined in section 101(2) of
the Bankruptcy Code) in the operation of their businesses, or in connection with their
restructuring efforts,

27. Right af Access and Information.

31

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 32 of 34

(a) The Debtors shall permil representatives, agents and/or employees of the
DIP Agent to have reasonable access to their premises and their records during normal business
hours (without unreasonable interference with the proper operation of the Debtors’ businesses)
and shall cooperate, consult with, and provide to such persons all such non-privileged
information as they may reasonably request.

(b) Notwithstanding anything contained herein to the contrary and without

limiting any other rights or remedies of the DIP Agent or the DIP Lenders contained in this

Order or the DIP Documents, or otherwise available at law or in equity, and subject to the terms
of the DIP Documents, upon written notice to the landlord of any leased premises that a default
has occurred and is continuing under the DIP Documents, the DIP Agent may, subject to any

separate agreement by and between such landlord and the DIP Lenders, enter upon any leased

 

premises of the Debtors for the purpose of excrcising any remedy with respect to Collateral
located thercon and shall be entitled to all of the applicable Debtors’ rights and privileges as
lessec under such lease without interference from the landlords thereunder, provided that the DIP
Agent (on behalf of the DIP Lenders) shall only pay rent and additional rent obligations of the
Debtors that first arise afler the DIP Agent’s written notice referenced above and that are payable
during the period of such occupancy by the DIP Agent, calculated on a per diem basis, Other
(han the payment obligation contained in this paragraph, neither the DIP Agent nor the DIP
Lenders shall be required to perform any of the Debtors’ obligations under any Icasc asa
condition to the rights afforded to the DIP Agent or the DIP Tenders in this paragraph.
Furthermore, any title, landlord’s lien, nght of distraint or levy, security interest or other interest

that any landlord or mortgagee may have in any Collateral of the Debtors located on such leased

32
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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 33 of 34

premises, to the extent the same 1s noi void under section 545 of the Bankruptcy Code, is hereby
expressly subordinated to the liens of the DIP Lenders in such Collateral.

28. = Effectiveness. This Order shall constitute findings of fact and conclusions of law
and, notwithstanding the possible application of Bankruptcy Rule 6004(g), shall take effect
immediately upon execution hereof.

29, Final Hearing. The Final Hearing is scheduled for July 13, 2006 at
bf: 00. p.m. before this Court. The Debtors shall promptly mail copies of this Order (which
shall constitute adequate notice of Final Hearing, including without limitation, notice that the
Debtors will scck approval at the Final Hearing of a waiver of rights under section 506(c) of the
Bankruptcy Code) to the parties having been given notice of the Interim Hearing, and to any
other party that has filed a request for noticcs with this Court and to any Committee after the
same has been appointed, or Committee counsel, if the same shall have been appointed. Any
party in interest objecting to the rclicf sought at the Final Hearing shall serve and file written
objections; which objections shall be served upon (a) Willkie Farr & Gallagher LLP, Co-Counsel
for the Debtors, 787 Seventh Avenue, New York, New York 10019, Attn: Matthew A. Feldman,
Fsq.; (b) Young Conaway Stargatt & Taylor, LLP, Co-Counsel for the Debtors, 1000 West
Street, 17th Floor, Wilmington, Delaware 19801, Attn: Robert 8. Brady, Esq.; (c} Skadden, Arps,
Slate, Meagher & Flom LLP, Counsel for the DIP Lenders, 333 Wesi Wacker Drive, Chicago,
Illinois 60606, Attn: Timothy R. Pohl, Esq.; (d) Simpson Thacher & Bartlett LI.P, Counsel for
the Prepetition Agent, 425 Lexington Avenue, New York, New York 10017-3954, Atin: Steven
M. Fuhrman, Esq.; (¢) Milbank, ‘Tweed, Hadley & McCloy LLP, Counsel for the Ad Hoc
Committee of Second Lien Lenders, 601 S. Figueroa Street, 30th Floor, Los Angeles, Califomia

90017-3735, Attn: Robert Jay Moore, L'sq.; and (£) the office of the United States Trustee for the

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Case 06-10578-BLS Doc 37 _ Filed 06/13/06 Page 34 of 34

District of Delaware, and shall be filed with the Clerk of the United States Bankrupicy Court for

the District of Delaware, in cach casc to allow actual receipt by the foregoing no later than

j tl Gy F , 2006 al 4:00 p.m., prevailing Eastern time.

Dated: June 13, 2006
Wilmington, Delaware

 

34

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